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                               Objection Deadline: September 24, 2012 at 5:00 p.m. (prevailing Eastern Time)
                                                                                         Hearing Date: TBD

DAVIS POLK & WARDWELL LLP
450 Lexington Avenue
New York, NY 10017
Telephone: (212) 450-4000
Facsimile: (212) 607-7984
Marshall S. Huebner
Benjamin S. Kaminetzky
Damian S. Schaible
Paul S. Mishkin

Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                        Chapter 11

PINNACLE AIRLINES CORP., et al.,                        Case No. 12-11343 (REG)

                                                        (Jointly Administered)

Debtors.



            NOTICE OF DEBTORS’ MOTION TO REJECT COLLECTIVE
            BARGAINING AGREEMENTS WITH THE AIR LINE PILOTS
           ASSOCIATION, INTERNATIONAL AND THE ASSOCIATION OF
            FLIGHT ATTENDANTS-CWA PURSUANT TO 11 U.S.C. § 1113
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       Pinnacle Airlines Corp. (“Pinnacle” or the “Company”) and its affiliated debtors (the

“Debtors”) respectfully move, pursuant to 11 U.S.C. § 1113(c), for an Order (1) authorizing

rejection of collective bargaining agreements with (a) the Air Line Pilots Association,

International (“ALPA”) and (b) the Association of Flight Attendants-CWA (“AFA”); and (2)

implementing the terms of Pinnacle’s Section 1113 proposal.

                            BACKGROUND AND JURISDICTION

       1.      On April 1, 2012 (the “Petition Date”), each Debtor commenced with this Court a

voluntary case under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).

The Debtors are authorized to operate their businesses and manage their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The Debtors’ cases

are being jointly administered pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy

Procedure.

       2.      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§ 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b) and may be heard and

determined by the Bankruptcy Court. Venue is proper before this Court pursuant to 28 U.S.C.

§§ 1408 and 1409.

       3.      The statutory predicate for the relief requested herein is Section 1113 of the

Bankruptcy Code.

                                     RELIEF REQUESTED

       4.      By this motion (the “Motion”), and for the reasons articulated in the

Memorandum of Law filed under seal contemporaneously herewith, the Debtors respectfully

request that this Court grant an Order (1) authorizing it to reject its collective bargaining
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agreements with (a) ALPA and (b) AFA; and (2) implementing the terms of Pinnacle’s Section

1113 proposal.

                                             NOTICE

       5.        Consistent with the Order Granting Debtors’ Motion for an Order Establishing

Certain Notice, Case Management and Administrative Procedures entered on April 3, 2012 [ECF

No. 42] (the “Debtors’ CMO”), the Debtors will serve notice of this Motion on (a) counsel to

ALPA, (b) counsel to AFA, (c) the Core Parties and (d) the Non-ECF Service Parties (as those

terms are defined in the Debtors’ CMO). All parties who have requested electronic notice of

filings in these cases through the Court’s ECF system will automatically receive notice of this

motion through the ECF system no later than the day after its filing with the Court. A copy of

this motion and any order approving it will also be made available on the Debtors’ Case

Information Website (located at http://dm.epiq11.com/Pinnacle). In light of the relief requested,

the Debtors submit that no further notice is necessary. Pursuant to paragraph 22 of the Debtors’

CMO, if no objections are timely filed and served in accordance therewith, the relief requested

herein may be entered without a hearing.

                                   NO PREVIOUS REQUEST

       6.        No previous request for the relief sought herein has been made by the Debtors to

this or any other court.




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                                       CONCLUSION

       WHEREFORE the Debtors respectfully request that the Court grant the Debtors’ Motion

for an order authorizing it to reject its collective bargaining agreements with ALPA and AFA

pursuant to Section 1113 of the Bankruptcy Code and such other and further relief as the Court

deems just and proper.


Dated: New York, New York
       September 13, 2012



                                               By: /s/ Paul S. Mishkin
                                                   Marshall S. Huebner
                                                   Benjamin S. Kaminetzky
                                                   Damian S. Schaible
                                                   Paul S. Mishkin

                                               DAVIS POLK & WARDWELL LLP
                                               450 Lexington Avenue
                                               New York, New York 10017
                                               Telephone: (212) 450-4000
                                               Facsimile: (212) 607-7984

                                               Counsel to the Debtors
                                               and Debtors in Possession




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